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HLED BY .,______ D.C.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESWUH 30 ppg 5= 07
wEsTERN DIvIsloN

 

 

MARK CHRISTOPHER OBERT and
LESLEY OBERT,

Plaintiff,

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)

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v. ) No. 03-2135-DV
)

THE PYRAMID, CITY OF MEMPHIS, )
SHELBY COUNTY GOVERNMENT, )
PUBLIC BUILDING AUTHORITY OF )
MEMPHIS AND SHELBY COUNTY, )
MEMPHIS POLICE DEPARTMENT, )
LEISURE MANAGEMENT )
INTERNATIONAL D/B/A/ LMI/HHI, )
LTD., and SPECTACOR MANAGEMENT )
GROUP D/B/A SMG, )
)

)

Defendants.

 

ORDER GRANTING DEFENDANT SMG’S MOTION TO ALTER OR AMEND

 

Before the Court is Defendant Spectacor Managenlent Group’s (“SMG” or “Defendant”)
motion (dkt. # 133) to alter or amend the Court’s April 8, 2005 Order granting in part and denying
in part Defendant’s motion for summary judgment (April 8, 2005 Order). Defendant asserts that,
pursuant to Rule 5 9(e) of the F ederal Rules of Civil Procedure, the Court should reconsider its ruling
with respect to Plaintit`fs’ claims of negligence per se and outrageous conduct as to SMG. For the
following reasons, the Court GRANTS Defendant’s motion.

A motion to alter or amend judgment pursuant to Fed. R. Civ. P. 5 9(e) may be made for one
of three reasons:

l) An intervening change of controlling law;

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with Rule 58 and/or 79(a) FHCP on

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2) Evidence not previously available has become available; or

3) It is necessary to correct a clear error of law or prevent manifest injustice
Fed. R. Civ. P. 59(e); Helton v. ACS Grouo and J&S Cafeterias ofPigeon Forge, Inc., 964 F.Supp.
1175 (E.D. Tenn. 1997). RuIe 59 is not intended to be used to “relitigate issues previously
considered” or to “submit evidence which in the exercise of reasonable diligence, could have been
submitted before.” E. at 1182. Thus, there are limited circumstances in which a court may grant
a motion to alter or amend a judgment

Defendant asserts that in order to correct a clear error of law, the Court should amend its

April 8, 2005 Order. Defendant contends that the Court erred when it found that Plaintiffs’
negligence per se claim was premised in part on Plaintiffs’ Americans with Disabilities Act (“ADA”)
claim. Instead, Defendant maintains that the negligence per se claim is premised solely on the 1991

Consent Order entered in Paralvzed Veterans of America v. Hackett, case no. 91-2462-HB (W.D.

 

Tenn. 1991) (“Consent Order”}.

ln its May 22, 2003 Order granting in part and denying in part Det`endant City ofMemphis’
motion to dismiss, this Court ruled that Plaintiffs could not proceed in bringing a cause of action
based on the terms of the Consent Order unless they were challenging the constitutionality of the
terms of the Consent Order. The Court relied on Blue Chip Stamp_s v. Manor Drug Stores, 421 U.S.
723 (1975), in which the United States Suprerne Court held that “a consent decree is not enforceable
directly or in collateral proceedings by those who are not parties to it even though they were intended
to be benefitted by it.” l_cL at 750. This Court further noted that “[a] person Who is not a party to the

consent decree has standing, however, to challenge the constitutionality of the consent decree as it

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is applied to them.” Court’s July 16, 2003 Order at 6. As previously decided in the Order entered
July 16, 2003, Plaintiffs do not challenge the constitutionality of the Consent Order, but instead seek
to enforce the terms of the Consent Order. Therefore, all claims based solely on the Consent Order
were dismissed.

Plaintiffs argued in their response to Defendant’s motion for summary judgment that it is not
necessary for the underlying statute, ordinance, or order provide a cause of action itself in order for
a negligence per se claim to sustain summary judgment However, the Court held that the Plaintiffs
do not have standing to bring any claim that is premised solely on the Consent Order.

As Defendant points out, Plaintiffs’ negligence per se claim is based solely on Defendants’
noncompliance with the Consent Order. The claim is titled, “Negligence Per Se for Violating
Consent Order of Disposition.” Second Amended Compl., Count IV. Thus, it was an error in law
for the Court to allow Plaintiffs’ negligence per se claim to proceed

Defendant additionally asks the Court to amend its Order to make a ruling on Defendant’s
motion for summary j udgment as to Plaintiffs’ outrageous conduct claim. Defendant asserts that the
acts complained of by Plaintiffs do not rise to the stringent requirements of the state law claim of
outrageous conduct. To establish a claim for outrageous conduct, a plaintiff must establish that the
conduct complained of l) was intentional or reckless; 2) was so outrageous that it is not tolerated
by civilized society; and 3) resulted in serious mental injury. Bain v. Wells, 936 S.W.2d 618, 622
(Tenn. 1997) (citations omitted). Liability for mental distress damages “does not extend to mere
insults, indignities, threats, annoyances, petty oppression or other trivialities.” ld_. (quoting _Me_dlin

v. Allied Inv. Co., 398 S.W.2d 270, 274 (Tenn. 1966)). To determine whether conduct is so

 

intolerable as to be outrageous, Tennessee courts apply the following stande enunciated in the

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Restatement (Second) of Torts § 46, comment d :
The cases thus far decided have found liability only where the
defendants conduct has been extreme and outrageous It has not been
enough that the defendant has acted with an intent which is tortious
or even criminal, or that he has intended to inflict emotional distress,
or even that his conduct has been characterized by “malice,” or a
degree of aggravation which would entitle the plaintiff to punitive
damages for another tort. Liability has been found only where the
conduct has been so outrageous in character, and so extreme in
degree, as to go beyond all bounds of decency, and to bc regarded as
atrocious and utterly intolerable in a civilized community Generally,
the case is one in which the recitation of the facts to an average
member of the community would arouse his resentment against the
actor, and lead him to exclaim, “Outrageous.”

Ld. at 623.

Plaintiffs have alleged that Defendants’ conduct which resulted in Plaintiffs’ lack of access
to the Pyramid, was intentional and reckless. Defendant contends that policies are in place to ensure
access to the Pyramid and that SMG’s conduct at no time rose to_the level of outrageous AIthough
a genuine issue of material fact remains as to violations of the ADA by Defendant, the Court finds
that Plaintiffs have not met the burden of demonstrating that Defendant’s acts or inaction rises to the
level of outrageous conduct. In their response to Defendant’s motion, Plaintiffs simply argue that
discrimination can provide the basis for a claim of outrageous conduct and that outrageous conduct
allegations are always questions of fact to be left for the jury. However, discrimination is not always
outrageous conduct. _Sg, eggs Bolander v. BP Oil Co., 128 Fed.Appx. 412, 419 (6th Cir. 2005). ln
this case, there is no evidence of outrageous conduct on the part of Defendants. Furthermore, there
are no questions of fact that must be resolved in order to make a determination concerning Plaintiffs’

claim of outrageous conduct. Accordingly, the Court grants Defendant’s motion for summary

judgment as to Plaintiffs’ outrageous conduct claim.

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For the reasons stated herein, Defendant’s motion to alter or amend is granted and summary

judgment is granted as to Plaintiffs’ negligence per se and outrageous conduct claims with respect

to SMG.

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U ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 157 in
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